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                                       UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF LOUISIANA

           JERRY MCKINNEY, SR.,                                     )
                                                                    )
                 Plaintiff,                                         )
                                                                    )
                 v.                                                 )        Case No. 19-cv-01339-DDD-JPM
                                                                    )
           RAPIDES PARISH SHERIFF’S OFFICE, et al.                  )
                                                                    )
                 Defendants.                                        )
                                                                    )

                 Undisputed Facts in Support of Plaintiff’s Motion for Summary Judgment


Fact   Fact                                                                   Defendants’ Response
Number
1.     A RPSO employee wrote that McKinney “was
       having difficulty with simple motor skills such as
       walking, balance, comprehension, and also appeared
       to be generally fatigued. . . . His speech was slurred,
       and he was stuttering.”1

2.           RPSO’s 30(b)(6) witness testified that McKinney
             “was impaired from the stroke he had had the year
             before.”2

3.           McKinney’s doctor wrote that McKinney had
             “multiple neurological and medical conditions”3

4.           In a letter of November 28, 2018, McKinney’s doctor
             wrote that McKinney “is to work 8 hours a day
             because I do not want his stress level to go up and
             cause elevated blood pressure with repeat stroke,
             especially a hemorrhagic stroke.”4

5.           Warden Batiste allowed McKinney to work about
             two eight-hour shifts in the jail’s kitchen.5

       1
         Ex. D (May 7, 2019 Incident Report).
       2
         Ex. A (30(b)(6) Dep.) at 57 (“Q. And then in the fall of -- of 2018, Mr. McKinney failed his -- his firearm
       certification process, correct? A. Correct. Q. Because he was impaired from the stroke he had had the year before?
       A. Yes.”)
       3
         Ex. O (July 31, 2018 Letter of Dr. M. Riad Hajumurad)
       4
         Ex. E (November 27, 2018 Doctor’s Letter).
       5
         Ex. A at 85 (“Warden Batiste did allow Mr. McKinney to work a couple of eight-hour shifts” and it was “about
       two shifts.”)
                                                               1
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6.           Jerry McKinney “had the Warden’s permission to do
             those two eight-hour shifts.”6

7.           In a letter dated November 29, 2018, Major
             Hollingsworth wrote that eight-hour shifts are “not in
             [McKinney’s] job description” and that his “job
             description is working a 12 hour shift with offenders
             and if you cannot do this, my suggestion is to retire.”7

8.           In a letter dated December 5, 2018, McKinney wrote
             that as “a person with a disability under the
             Americans With Disabilities Act (ADA). I am
             requesting reasonable accommodation to allow me to
             perform my job duties. . . I would like to change my
             location and work schedule so that I can work eight
             (8) hours per day and not the twelve (12) I am
             currently assigned.”8

9.           In a letter dated Dec. 10, 2018, Sheriff Hilton wrote
             that there “are no other positions available in the
             department for which you are qualified, and we feel it
             is time for you to retire.”9

10.
             In a letter dated December 17, 2018, McKinney
             asked to “work in any other section of the sheriff’s
             office which may have eight hour shift” and wrote
             that “I do not want to retire at this time and feel that I
             can continue my career at the sheriff’s office very
             successfully.”10

11.
             In a letter dated December 19, 2018, Sheriff Hilton
             wrote that he was terminating McKinney’s
             employment “effective immediately.” The subject
             line of the letter was “RE: Request for Alternative
             Arrangement.”11




        6
           Ex. A at 87; see also id. at 85 (“Warden Batiste did allow Mr. McKinney to work a couple of eight-hour shifts”
        and it was “about two shifts.”)
        7
          Ex. G. Emphasis added.
        8
          Ex. H (Dec. 5, 2018 Letter from McKinney).
        9
          Ex. I (Dec. 10, 2018 Letter from Hilton).
        10
           Ex. J (Dec. 17, 2018 Letter from McKinney)
        11
           Ex. K (Dec. 19, 2018 Termination Letter).
                                                               2
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12.          RPSO did not conduct an interactive process of
             seeing what kind of jobs McKinney could do or what
             kind of accommodations he needed.12

13.          There were at least some positions that McKinney
             “could have been qualified for,” but was not
             offered.13

14.          RPSO has given at least one employee eight-hour
             shifts at the jail “due to a family issue.”14



                                            Respectfully submitted,

                 /s/ William Most__________                             /s/ Kerry A. Murphy
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        12
           Ex. A at 99 (“Q. So you didn’t have an interactive process with him of – of seeing what kind of jobs he could do
        or what kind of accommodations he needed. Is that correct? A. That’s correct.”)
        13
           Ex. A at 185. (“Q. Okay. So it looks to me like there were at least some positions that Jerry could have been
        qualified for, like, the part-time Finance Department position and perhaps, but you don't know, the -- the jail records
        position, correct? A. I'm assuming. I guess, yes.”); Id. at 172 (“Q. That's an opening, correct? A. It appears to be,
        yes, sir. Q. And jail records, we already established is not POST certified, correct? A. Correct. Q. Okay, and jail
        records doesn't require working 12 hours a day, correct? A. No, it does not.”); Ex. T at 110 (“Q. And this indicates
        that in the beginning of December of 2018 there was an opening in Jail Records, right? A. That's what it appears to
        be, yes.”)
        14
           Ex P at RFA 62-63 (admitting that Bobbie Duncan was assigned to eight-hour shifts at the jail “due to a family
        issue.”)
                                                                  3
